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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     MARTIN MARTINEZ
 6

 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 9

10
                                       ) Case No.: Case No. 1:11-CR-00354 LJO
     UNITED STATES OF AMERICA,         )
11
                                       )
                Plaintiff,             ) STIPULATION AND ORDER TO FILE
12
                                       ) MOTION BEYOND DESIGNATED
           vs.                         ) FILING DATE
13
                                       )
     MARTIN MARTINEZ,                  )
14
                                       )
                Defendant              )
15
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16
     LAWRENCE O’NEIL AND THE UNITED STATES ATTORNEYS OFFICE:
17

18          IT IS HEREBY STIPULATED between AUSA’s Kimberly Sanchez and Kathleen

19   Servatious and Defense Counsel, David A. Torres, to file a Supplemental Motion to Suppress the

20   Wiretap on behalf of Defendant Martin Martinez.

21          It is further stipulated that the governments’ response date shall be August 15, 2013.

22   //

23   //

24   //

25   //

     //



                                       Summary of Pleading - 1
                                Case 1:11-cr-00354-JLT Document 241 Filed 07/31/13 Page 2 of 2


 1                            IT IS SO STIPULATED.

 2                                                                            Respectfully Submitted,

 3   DATED: 7/31/2013                                                         /s/ David A Torres        ___
                                                                              DAVID A. TORRES
 4                                                                            Attorney for Defendant
                                                                              Mart Martinez
 5

 6
     DATED: 7/31/2013                                                         /s/Kimberly Sanchez     ______
 7                                                                            KIMBERLY SANCHEZ
                                                                              Assistant U.S. Attorney
 8

 9   DATES: 7/31/2013                                                         /s/Kathleen Servatious ______
                                                                              KATHLEEN SERVATIOUS
10                                                                            Assistant U.S. Attorney
11

12

13                                                             ORDER
14
                              IT IS SO ORDERED that counsel be allowed to file the above referenced motion
15
     beyond the designated filing date. The governments’ response date shall be August 15, 2013.
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     IT IS SO ORDERED.
22

23                         Dated:   July 31, 2013                         /s/ Lawrence J. O’Neill
     DEAC_Signature-END:
                                                                       UNITED STATES DISTRICT JUDGE
24
     b9ed48bb
25




                                                      Summary of Pleading - 2
